       LUJAN & WOLFF LLP
       DNA Building. Suite 300
       238 Archbishop Flores Street
                                                                           FILED'
                                                                        DIBTRICT COURT OP GUAM7
       Haaatna. Guam 96910
       Telephone (671) 477-8064/5                                             DEC 07 2015 S
       Facsimile (671) 477-5297
   4
       Attorneys for Defendant Justin Robert White Cruz                  JEANNE Q. QUINATA
                                                                           GLERK OF GQURT
   5

   6                           IN THE UNITED STATES DISTRICT COURT

   7                                             DISTRICT OF GUAM


   8
        UNITED STATES OF AMERICA.                           CRIMINAL CASE NO. CR15-00041
   9

                                                             MJ-15-00053
  10                               pi.,;
                                    laintiffs.

  11
                       vs.                                  SUBSTITUTION OF COUNSEL

 12
       JUSTIN ROBERT WHITE CRUZ
  13
                                   Defendant.
  14


  15          COMES NOW Defendant JUSTIN ROBERT WHITE CRUZ, to substitute himself. Pro

  16   Se, in place and stead of his counsel, David J. Lujan of the Law Firm of Lujan & Wolff.
  17
              Respectfully submitted this 3rd day of December. 2015.
  18

  19

                                                      DAVID J. LUJAN.
 20

 21           Defendant agrees to the above substitution of attorney.
              Dated this 3rd of Defendant. 2015.
 22

 23                                                                        RY WHITE CRUZ.


Oj

cf5

                   Case 1:15-cr-00041 Document-1-66 Filed 12/07/15 Page 1 of 1
